Case 3:22-cv-01213-TAD-KDM              Document 395           Filed 10/15/24     Page 1 of 3 PageID #:
                                              29592


                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA




  THE STATE OF MISSOURI, et al.,


          Plaintiffs,


                    v.
                                                                 Civil Action No. 3:22-cv-1213
  PRESIDENT JOSEPH R. BIDEN, JR., IN
  HIS OFFICIAL CAPACITY AS PRESIDENT
  OF THE UNITED STATES OF AMERICA,
  et. al.,


          Defendants.




                         CONSENT MOTION FOR EXTENSION OF TIME

         Plaintiffs respectfully request a 7-day extension to respond to Defendants’ supplemental brief

 in response to the Court’s order of August 27, 2024, making their response due October 29, 2024. All

 parties have agreed to this extension. In support of this motion, Plaintiffs state as follows:

     1. Defendants filed their 37-page response brief on October 8, 2024.

     2. According to the Court’s briefing schedule, Plaintiffs’ reply is due October 22, 2024.

     3. The attorney for individual Plaintiffs Jayanta Bhattacharya, Jill Hines, Aaron Kheriaty, and

 Martin Kulldorff is the primary drafter of the reply brief.

     4. She and her family fell ill with Covid-19 last week, impeding her ability to work on the reply

 brief during that time.

                                                     1
Case 3:22-cv-01213-TAD-KDM                Document 395            Filed 10/15/24   Page 2 of 3 PageID #:
                                                29593



     5. In order to adequately address Defendants’ lengthy arguments, which by consent is an

 oversized brief, and to accommodate the schedules of all co-counsel to review the brief, Plaintiffs

 request a 7-day extension of time.

     6. Accordingly, Plaintiffs respectfully request that the Court grant this motion.

 Dated: October 15, 2024                                    Respectfully submitted,
 /s/ Jenin Younes
 JENIN YOUNES *
 Litigation Counsel
 JOHN J. VECCHIONE *
 Senior Litigation Counsel
 ZHONETTE BROWN*
 Senior Litigation Counsel
 New Civil Liberties Alliance
 4250 N. Fairfax Drive, Suite 300
 Arlington, VA 22203
 Main: (202) 869-5210
 Direct: (202) 918-6905
 E-mail: jenin.younes@ncla.legal
 Counsel for Plaintiffs Dr. Jayanta Bhattacharya,
 Dr. Martin Kulldorff, Dr. Aaron Kheriaty, and Jill Hines


 ELIZABETH B. MURRILL                 ANDREW BAILEY
 Louisiana Attorney General           Missouri Attorney General

 /s/Zachary Faircloth                 /s/Josh M. Divine
 ZACHARY FAIRCLOTH                    JOSH M. DIVINE
 Principal Deputy Solicitor General   Solicitor General
 TRACY SHORT                          TODD A. SCOTT
 Ass’t Attorney General               Senior Counsel
 D. JOHN SAUER                        207 W. High St.
 Sp. Ass’t Attorney General           P.O. Box 899
 1885 N. Third St.                    Jefferson City, MO 65102
 Baton Rouge, LA 70802                (573) 751-8870
 (225) 326-6766                       Joshua.Divine@ago.mo.gov
 MurrillE@ag.louisiana.gov            Counsel for Missouri
 Counsel for Louisiana

 /s/ John C. Burns
 JOHN C. BURNS *
 Burns Law Firm

                                                       2
Case 3:22-cv-01213-TAD-KDM         Document 395   Filed 10/15/24   Page 3 of 3 PageID #:
                                         29594


 P.O. Box 191250
 St. Louis, Missouri 63119
 P: 314-329-5040
 F: 314-282-8136
 E-mail: john@burns-law-firm.com
 Counsel for Plaintiff Jim Hoft
 *Admitted pro hac vice




                                           3
